                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA



REVEREND DARCY ROAKE and ADRIAN
VAN YOUNG, on behalf of themselves and on
behalf of their minor children, A.V. and S.V., et
al.,

       Plaintiffs,
                                                     CIVIL ACTION NO.
                                                     3:24-cv-00517-JWD-SDJ
       v.

CADE BRUMLEY, in his official capacity as
the Louisiana State Superintendent of
Education, et al.,

       Defendants.



                                        EXHIBIT LIST

       Plaintiffs submit this exhibit list and the exhibits listed below to accompany their

Combined Memorandum of Law In Opposition to Defendants’ Motion to Dismiss and Motion to

Stay and Reply in Support of Plaintiffs’ Motion for Preliminary Injunction (ECF No. 47):

   •   Exhibit A – Declaration of Steven K. Green.

   •   Exhibit A-1 – Expert Report of Steven K. Green.

   •   Exhibit B – Declaration of Chloe Slater.

   •   Exhibit B-1 – Attorney General Liz Murrill’s X.Com (formerly Twitter) post, dated July

       19, 2024.

   •   Exhibit B-2 – Attorney General Liz Murrill’s Facebook post, dated July 19, 2024.

   •   Exhibit B-3 – Attorney General Liz Murrill’s Facebook post, dated July 24, 2024.
   •   Exhibit B-4 – Policies/Bulletins, Louisiana State Board of Elementary and Secondary

       Education website.


   •   Exhibit B-5 – Louisiana Department of Education’s 2023-2024 Charter School

       Assurances.



Date: August 27, 2024                      Respectfully submitted,

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